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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


                                                           Civil Action File No.: 1:21-cv-00135
 In re Clearview AI, Inc., Consumer Privacy
 Litigation                                                Judge Sharon Johnson Coleman

                                                           Magistrate Judge Maria Valdez
 This Document Relates to:
                                                           JURY TRIAL DEMANDED
 1:20-cv-512



                         CONSOLIDATED CLASS ACTION COMPLAINT

       Plaintiffs David Mutnick, Steven Vance, Anthony Hall, Isela Carmean, Chris Marron and

Maryann Daker (“Plaintiffs”), individually and on behalf of all others similarly situated (“Plaintiff

Class Members”), bring this Consolidated Class Action Complaint against the following: (a)

Clearview AI, Inc. (“Clearview”); (b) Hoan Ton-That; (c) Richard Schwartz; (d) Rocky Mountain

Data Analytics LLC (“Rocky Mountain”); (e) Thomas Mulcaire; and (f) Macy’s, Inc. (“Macy’s”),

individually and on behalf of a defendant class comprised of all other private, non-governmental

entities similarly situated to Macy’s (hereinafter, “Defendant Class Members”) (all Defendants,

collectively, “Defendants”). Plaintiffs complain and allege as follows based on personal

knowledge as to themselves, the investigation of their counsel, and information and belief as to all

other matters, and demand a trial by jury.

                                  NATURE OF THE ACTION

       1.      Without providing any notice and without obtaining any consent, Defendants

Clearview, Ton-That and Schwartz (collectively, the “Clearview Defendants”) covertly scraped

three billion photographs of facial images from the internet – including facial images of millions
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of American residents and then used artificial intelligence algorithms to scan the face geometry of

each individual depicted in the photographs in order to harvest the individuals’ unique biometric

identifiers 1 and corresponding biometric information 2 (collectively, “Biometrics”). Further, the

Clearview Defendants created a searchable biometric database (the “Biometric Database”) that

contained the above-described Biometrics and allowed users of the Database to identify unknown

individuals merely by uploading a photograph to the database.

        2.      The Clearview Defendants did not develop their technology out of a desire for a

safer society. Rather, they developed their technology to invade the privacy of the American public

for their own profit.

        3.      While the Clearview Defendants have touted their actions and the Biometric

Database as being helpful to law enforcement and other government agencies, the Clearview

Defendants have made their Biometric Database available to public and private entities and

persons, alike. What the Clearview Defendants’ technology really offers is a massive surveillance

state. Anyone utilizing the technology could determine the identities of people as they walk down

the street, attend a political rally or enjoy time in public with their families. One of Clearview’s

financial backers has conceded that Clearview may be laying the groundwork for a “dystopian

future.”

        4.      Accordingly, Plaintiffs, on behalf of themselves and similarly situated individuals,

bring this action for damages and other legal and equitable remedies resulting from the actions of

the Clearview Defendants, Macy’s and all other private entities similarly situated to Macy’s, and

the other Defendants for their unlawful creation and/or use of the Biometric Database consisting


1
  As used herein, “biometric identifier” is any personal feature that is unique to an individual, including
fingerprints, iris scans, DNA and “face geometry,” among others.
2
  As used, “biometric information” is any information captured, converted, stored, or shared based on a
person’s biometric identifier used to identify an individual.


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of the Biometrics of millions of American residents, including residents of Illinois. As alleged

below, Defendants’ conduct violated, and continues to violate, Illinois’ Biometric Information

Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., as well as other statutory and common law rights,

causing injury to Plaintiffs and Plaintiff Class Members

                                                 PARTIES

       5.      Plaintiff David Mutnick is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       6.      Plaintiff Steven Vance is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       7.      Plaintiff Anthony Hall is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       8.      Plaintiff Isela Carmean is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       9.      Plaintiff Chris Marron is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       10.     Plaintiff Maryann Daker is, and at relevant times has been, a resident of Illinois,

residing in the Northern District of Illinois.

       11.     Defendant Clearview AI, Inc. is a private, for-profit Delaware corporation,

headquartered in New York, New York (Defendant and its predecessors, hereinafter “Clearview”).

Clearview markets its technology throughout the United States, including in Illinois. Moreover,

Clearview obtains the images that underlie its technology from millions of internet-based

platforms and websites, including, on information and belief, based on the magnitude of platforms

and websites involved, platforms and websites of Illinois companies or companies who operate




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servers in Illinois. Clearview’s business and unlawful practices extend nationwide, and it has

disclosed the Biometrics of unsuspecting individuals to its clients around the country. Clearview

continues to engage in this conduct to this day.

       12.     Defendant Hoan Ton-That is a founder and the Chief Executive Officer of

Clearview and an architect of its illegal scheme, as alleged herein. Ton-That’s responsibilities at

Clearview included, and continue to include, managing technology matters. At relevant times,

Ton-That knew of, participated in, consented to, approved, authorized and directed the wrongful

acts alleged in this Consolidated Class Action Complaint.

       13.     Defendant Richard Schwartz is a founder and the President of Clearview and an

architect of its illegal scheme. Schwartz’s responsibilities at Clearview included, and continue to

include, managing sales. Schwartz knew of, participated in, consented to, approved, authorized,

and directed the wrongful acts alleged in this Consolidated Class Action Complaint.

       14.     At relevant times, Defendant Thomas Mulcaire was an attorney, Clearview’s

General Counsel and the Vice President of Defendant Rocky Mountain. Mulcaire provided Rocky

Mountain’s sole customer – the Illinois Secretary of State – with his personal information in order

to be paid directly for work performed by Rocky Mountain.

       15.     Defendant Rocky Mountain Data Analytics LLC is a private, for-profit New

Mexico limited liability company with its principal place of business in New Mexico. At relevant

times, Rocky Mountain had a single client – the Illinois Secretary of State. Rocky Mountain

provided the Illinois Secretary of State with access to the Biometric Database and the Biometrics

contained therein. – to which it provided the Biometric Database.

       16.     Defendant Macy’s, Inc. is a Delaware corporation, doing business in Illinois, with

twenty-one department stores in that state.




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                                 JURISDICTION AND VENUE

       17.     This Court has original jurisdiction over this controversy pursuant to 28 U.S.C.

§ 1332(d) because there are more than 100 Plaintiff Class Members and the aggregate amount in

controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one class

member is a citizen of a state different from one of the Defendants. The Court has supplemental

jurisdiction over all of the state common law claims pursuant to 28 U.S.C. § 1367.

       18.     This Court has personal jurisdiction over the Clearview Defendants because their

contacts with Illinois are directly related to the conduct alleged herein. As set forth in the Court’s

previous order (Dkt. 86):

       Ton-That and Schwartz founded Clearview in 2017. Ton-That and Schwartz have
       high-ranking positions in management and operations at Clearview. More
       specifically, Ton-That is Clearview’s CEO and is responsible for managing
       Clearview’s technological matters. Schwartz is Clearview’s president managing
       Clearview’s sales. Schwartz and Ton-That have contributed significant resources
       to Clearview’s operations. Schwartz, for example, has paid for the servers and other
       costs necessary to carry out Clearview’s scraping and scanning operations.

       As Clearview’s principals, Schwartz and Ton-That have executed hundreds of
       agreements on behalf of Clearview with numerous Illinois law enforcement and
       other government agencies, as well as private entities in Illinois, to provide access
       to its facial recognition database. Through these agreements, defendants have sold,
       disclosed, obtained, and profited from the biometric identifiers of Illinois citizens.
       Some the entities to whom Clearview sold biometric information include the
       Chicago, Rockford, and Naperville police departments. Also, Clearview marketed
       its licenses (user accounts) for its facial recognition database to the Illinois
       Secretary of State and negotiated a contract with the Secretary of State via a series
       of emails, mail, and phone calls. As to Clearview’s price quote to the Secretary of
       State, set forth in a letter dated October 1, 2019, Clearview directed payments to be
       sent to Clearview AI/Attn: Richard Schwartz at Schwartz’s residence in New York
       City.

       Plaintiffs further maintain that defendants purposely directed their “illegal
       harvesting” at the State of Illinois. To clarify, the images contained in the facial
       recognition databases sold to Illinois entities were uploaded and created using
       internet-based platforms and websites from companies in Illinois or companies who
       operate servers in Illinois. Simply put, defendants took biometric information from
       Illinois residents, created a surveillance database, and then marketed and sold



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       licenses to use this database to entities in Illinois. As a result, plaintiffs’ privacy
       rights were violated.

       19.     This Court has personal jurisdiction over Rocky Mountain and Mulcaire because

their contacts with Illinois are directly related to the conduct alleged herein. According to

Mulcaire’s May 23, 2020 sworn declaration: (a) Rocky Mountain “is a special purpose entity that

was used for the purpose of contracting with the Illinois Secretary of State”; (b) “[a]lthough [Rocky

Mountain] did submit a quote to the Chicago Police Department, other than the transaction with

the Illinois Secretary of State, [Rocky Mountain] has not engaged in any other transactions related

to Clearview’s [biometric] database since its formation, and is not currently engaged in efforts to

market or contract with parties for access to Clearview’s database”; and (c) Rocky Mountain “has

no employees, assets or products separate from those of Clearview . . . .” The Biometric Database

that Rocky Mountain offered and provided to the Illinois Secretary of State was the same Biometric

Database created by Clearview, with the same connection to Illinois as alleged in the preceding

paragraph. At relevant times, Mulcaire was Rocky Mountain’s Vice President and directly

corresponded with the Illinois Secretary of State in connection with Rocky Mountain’s efforts to

obtain the Illinois Secretary of State’s business. According to the Illinois Secretary of State’s

records, the “Vendor/Payee Name” for the entity providing the Biometric Database was “Thomas

Mulcaire” and the “Vendor Name2/DBA” was “Rocky Mtn Data Analytics LLC.” Further,

according to publicly-available information from the Illinois Comptroller’s Office, Thomas

Mulcaire was paid $5,000 in 2020, the amount invoiced by Rocky Mountain.

       20.     The Court has personal jurisdiction over Macy’s because its contacts with Illinois

are directly related to the conduct alleged herein. At relevant times, Macy’s operated twenty-one

retail stores in Illinois. On information and belief, Macy’s obtained access to the Biometric

Database and the Biometrics contained therein in order to identify people whose images appeared



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in surveillance camera footage from Macy’s retail stores, including its retail stores in Illinois.

Macy’s utilized the Biometric Database over 6,000 times, each time uploading a probe image to

the database to have the database search the Biometrics contained therein, including the Biometrics

of millions of Illinois residents, for a biometric match. On information and belief, based on the

magnitude of the number of searches, Macy’s uploaded one or more probe images from

surveillance cameras located in Illinois.

        21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because, as

alleged above, a substantial part of the acts or omissions giving rise to Plaintiffs’ claims occurred

in Illinois. Alternatively, venue is proper pursuant to 28 U.S.C. § 1391(b)(3) because the Court has

personal jurisdiction over Defendants. Additionally, venue is proper pursuant to 28 U.S.C. §

1407(a) and the Order of the United States Judicial Panel on Multidistrict Litigation transferring

this multidistrict litigation to this Court.

                                    FACTUAL ALLEGATIONS

Biometric Identifiers

        22.     Every individual has unique features by which he or she can be identified using a

set of standard quantitative measurements, commonly referred to as “biometric identifiers.”

        23.     For example, the shape of and distance between tiny ridges on each person’s finger

are unique, so measures of those features can be used to identify a specific individual as the person

who made a fingerprint.

        24.     Each person also has a unique facial geometry composed of, among other

measurements, distances between key facial landmarks and ratios between those distances.

        25.     Once a picture of a person’s face is scanned and its biometric measurements are

captured, computers can store that information and use it to identify that individual any other time




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that person’s face appears on the internet, in a scanned picture or in footage from any of the billions

of cameras that are constantly monitoring the public’s daily lives.

         26.   Unlike fingerprints, facial biometrics are readily observable and, thus, present a

grave and immediate danger to privacy, individual autonomy, and liberty.

The Clearview Defendants’ Unlawful Biometric Database

         27.   The Clearview Defendants have collected, captured and obtained Biometrics from

more than three billion images they covertly scraped from the internet – including, on information

and belief, the Biometrics of Plaintiffs and Plaintiff Class Members – which they have amassed

into the searchable Biometric Database.

         28.   Additionally, the Clearview Defendants have distributed, disseminated, sold,

traded, leased and otherwise profited from the Biometrics they unlawfully collected, captured and

obtained.

         29.   To date, the Clearview Defendants have sold unfettered access to their vast

Biometric Database to more than 7,000 individuals from approximately 2,000 law enforcement

and government agencies, including the Chicago Police Department and the Illinois Secretary of

State.

         30.   Moreover, the Clearview Defendants have sold unfettered access to the Biometric

Database to more than 200 private companies, including Macy’s and Defendant Class Members.

Those private entities in turn frequently queried the Biometric Database for their own business

purposes, including to identify particular individuals appearing in photographs or videos in their

possession. Each time one of Clearview’s private clients queried the Biometric Database, the

Clearview Defendants’ algorithms compared the facial geometry of the subject appearing in a

chosen photograph or video against the facial geometry of each of the hundreds of millions of




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subjects appearing in the database, including the facial geometry of Plaintiffs and Plaintiff Class

Members. Thus, by obtaining access to and querying the Biometric Database, Macy’s and

Defendant Class Members necessarily obtained, accessed and used all of the Biometrics in that

database, including the Biometrics of Plaintiffs and Plaintiff Class Members.

       31.     At relevant times, the Clearview Defendants failed to store and protect from

disclosure the highly sensitive Biometrics in the Biometric Database: (a) using the reasonable

standard of care within Clearview’s industry; and (b) in a manner that was the same or more

protective than the manner in which the Clearview Defendants stored and protected other

confidential and sensitive information. Evidence of the Clearview Defendants’ lax security

practices includes the fact that Clearview’s electronic systems were hacked on at least two

occasions in 2020.

       32.     According to public reports, in one instance, the hackers obtained Clearview’s

customer list. In the other instance, hackers obtained access to a “misconfigured server” that

exposed Clearview’s internal files, apps and source code to anyone on the internet. The

misconfigured server allowed anyone to run Clearview’s software application and access the

Biometric Database that contained the sensitive Biometrics of millions of United States residents,

including Plaintiffs and Plaintiff Class Members.

The Corporate Fictions

       33.     At relevant times, a unity of interest existed between Clearview and its principals,

Ton-That and Schwartz, that caused the separate personalities of Clearview and those principals

to no longer exist. Moreover, adherence to the fiction of a separate corporate existence would

promote injustice and inequitable consequences.




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       34.     From Clearview’s inception, Ton-That and Schwartz undercapitalized Clearview

so that Clearview could not fulfill its obligations – namely, its legal obligations. Ton-That’s and

Schwartz’s undercapitalization was especially egregious given that, as alleged herein, they built

Clearview around an inherently unlawful business model that exposed Clearview to substantial

legal liability at all times. Ton-That’s and Schwartz’s failure to adequately capitalize Clearview

rendered, and continues to render, Clearview a mere liability shield.

       35.     Further, at relevant times, Clearview directed its customers to send payments to

Schwartz’s personal residence. Moreover, Schwartz paid for the servers and other costs necessary

to carry out Clearview’s unlawful scraping and biometric scanning operations.

       36.     Additionally, Ton-That and Schwartz treated Clearview’s Biometric Database as

their own and transferred “ownership” of it as they saw fit. In or about September 2019, Rocky

Mountain was organized and, shortly thereafter, contracted with the Illinois Secretary of State to

provide the Secretary of State with access to the Biometric Database. Rocky Mountain represented

that the Biometric Database was “its proprietary technology” and that Rocky Mountain was the

“sole manufacturer and provider” of the Biometric Database. According to Rocky Mountain,

“there is no other company that offers this product [the Biometric Database] and set of

capabilities.” On information and belief, based on Ton-That’s and Schwartz’s leadership positions

within Clearview and the fact that they were responsible for the creation of the Biometric Database,

Ton-That and Schwartz authorized and were directly involved in the creation of Rocky Mountain

and responsible for allowing Rocky Mountain to sell access to the Biometric Database.

       37.     Notably, at relevant times, a unity of interest existed between Rocky Mountain, on

the one hand, and Ton-That, Schwartz and Mulcaire on the other that caused the separate

personalities of Rocky Mountain and Ton-That, Schwartz and Mulcaire to no longer exist.




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Moreover, adherence to the fiction of a separate corporate existence would promote injustice and

inequitable consequences.

        38.     Rocky Mountain was, in essence, a corporate shell that Ton-That and Schwartz did

not capitalize at all.

        39.     Further, Ton-That, Schwartz and Mulcaire did not follow corporate formalities with

respect to Rocky Mountain. For instance, Rocky Mountain’s salesperson, in actuality, was a

Clearview employee. On information and belief, Ton-That, Schwartz and Mulcaire authorized and

directed that Clearview salesperson to double as a Rocky Mountain salesperson, all the while

knowing that the salesperson would be paid for all of his work by Clearview. Further, on

information and belief, Ton-That and Schwartz authorized Mulcaire to provide his personal

information to the Illinois Secretary of State, knowing that by doing so the Illinois Secretary of

State would make direct payment to him, not Rocky Mountain. Mulcaire, an attorney, ultimately

provided his personal information to the Illinois Secretary of State, resulting in the Illinois

Secretary of State submitting a voucher to the Illinois Comptroller authorizing payment to

Mulcaire. The Illinois Comptroller ultimately issued a $5,000 payment to Mulcaire.

        40.     Based on the same facts alleged in the preceding paragraphs, Clearview, itself, is

also liable for the acts of Rocky Mountain because: (a) it was Rocky Mountain’s parent; and (b)

had control over and was involved in Rocky Mountain’s misconduct. As alleged, Rocky

Mountain’s misconduct can be traced to Clearview, its parent, through the conduct of Ton-That,

Schwartz and Mulcaire who were directly responsible for Rocky Mountain’s activities. Rocky

Mountain’s activities – which including collecting, obtaining, distributing, disseminating, selling,

leasing and profiting from the Biometrics of Plaintiffs and Plaintiff Class Members – resulted in




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Rocky Mountain violating the privacy rights of millions of American residents, including residents

of Illinois. At all times, the injuries caused by Rocky Mountain’s conduct were foreseeable.

Allegations Related to Plaintiffs and Plaintiff Class Members

       41.     At relevant times, Plaintiff Mutnick uploaded from Illinois to various websites on

the internet photographs taken in Illinois and containing images of his face. Further, at relevant

times, photographs taken in Illinois and containing images of Plaintiff’s face were uploaded by

others to various websites on the internet. In creating the Biometric Database, Clearview searched

millions of websites on the internet for image files. On information and belief, Plaintiff Mutnick’s

Biometrics are contained in the Biometric Database.

       42.     At relevant times, Plaintiff Vance uploaded from Illinois to various websites on the

internet photographs taken in Illinois and containing images of his face. Plaintiff Vance has

uploaded over 18,000 photographs to the internet, many of which contain images of his face. In

creating the Biometric Database, Clearview searched millions of websites on the internet for image

files. On information and belief, Plaintiff Vance’s Biometrics are contained in the Biometric

Database.

       43.     At relevant times, Plaintiff Hall uploaded from Illinois to various websites on the

internet photographs taken in Illinois and containing images of his face. In creating the Biometric

Database, Clearview searched millions of websites on the internet for image files. On information

and belief, Plaintiff Hall’s Biometrics are contained in the Biometric Database.

       44.     At relevant times, Plaintiff Carmean uploaded from Illinois to various websites on

the internet photographs taken in Illinois and containing images of her face. In creating the

Biometric Database, Clearview searched millions of websites on the internet for image files. On

information and belief, Plaintiff Carmean’s Biometrics are contained in the Biometric Database.




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       45.     At relevant times, Plaintiff Marron uploaded from Illinois to various websites on

the internet photographs taken in Illinois and containing images of his face. In creating the

Biometric Database, Clearview searched millions of websites on the internet for image files. On

information and belief, Plaintiff Marron’s Biometrics are contained in the Biometric Database.

       46.     At relevant times, Plaintiff Daker uploaded from Illinois to various websites on the

internet photographs taken in Illinois and containing images of her face. In creating the Biometric

Database, Clearview searched millions of websites on the internet for image files. On information

and belief, Plaintiff Daker’s Biometrics are contained in the Biometric Database.

       47.     After scraping photographs from the internet, the Clearview Defendants, singularly

and/or in concert, performed facial geometric scans of the various faces in the scraped photographs,

including Plaintiffs’ and Plaintiff Class Members’ faces, in order to collect, capture and obtain the

Biometrics from those faces.

       48.     Additionally, the Clearview Defendants distributed and disseminated the

Biometrics of Plaintiffs and Plaintiff Class Members to Rocky Mountain who, after obtaining the

Biometrics, then redistributed and disseminated them to the Illinois Secretary of State.

       49.     The Clearview Defendants also distributed and disseminated the Biometrics of

Plaintiffs and Plaintiff Class Members to Macy’s and Defendant Class Members who, as alleged

above, purchased access to the Biometric Database and then repeatedly obtained the Biometrics

contained therein in connection with running biometric searches.

       50.     Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire profited from the

Biometrics in the Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class

Members, by selling, leasing and trading them to thousands of governmental and private entities,

as alleged herein.




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       51.     Macy’s and Defendant Class Members also profited from the Biometrics in the

Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class Members, by using

those Biometrics to prevent losses and/or improve the customer’s experience.

       52.     Defendants: (a) never informed Plaintiffs or Plaintiff Class Members in writing or

otherwise of the purpose for which they were collecting, capturing, obtaining, purchasing,

disclosing, redisclosing and disseminating the Biometrics of Plaintiffs and Plaintiff Class

Members; and (b) never sought, nor received, a written release or other consent from Plaintiffs or

Plaintiff Class Members or the respective authorized representatives of Plaintiffs or Plaintiff Class

Members that allowed Defendants to collect, capture, obtain, purchase, disclose, redisclose and

disseminate the Biometrics of Plaintiffs and Plaintiff Class Members.

       53.     Further, Plaintiffs and Plaintiff Class Members never consented, agreed or gave

permission – written or otherwise – to Defendants for the collection or storage of their unique

Biometrics. Indeed, prior to the Biometric Database being publicized, Plaintiffs and Plaintiff Class

Members had no idea Defendants were ever in possession of their photographs.

       54.     Likewise, Defendants never provided Plaintiffs or Plaintiff Class Members with an

opportunity to prohibit or prevent the collection, storage, use or dissemination of their unique

Biometrics.

The Injuries to and Damages of Plaintiffs and Plaintiff Class Members

       55.     As alleged herein, as a result of Defendants’ unlawful conduct, Plaintiffs and

Plaintiff Class Members have already sustained injuries and face many more imminent and

certainly impending injuries, which injuries they will continue to suffer.

       56.     Defendants’ unlawful conduct has resulted in, among other things: (a) Plaintiffs’

and Plaintiff Class Members’ unique Biometrics being collected, captured, obtained, purchased,




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disclosed, redisclosed and otherwise disseminated without the requisite notice having been given

and without the requisite releases or consents having been obtained; and (b) Plaintiffs and Plaintiff

Class Members being deprived of control over their Biometrics.

        57.    To this day, Plaintiffs and Plaintiff Class Members do not know which, or how

many, individuals or entities have received, obtained, purchased, received through trade, accessed,

stored, disclosed, redisclosed or otherwise made use of Plaintiffs’ and Plaintiff Class Members’

Biometrics, exposing them to the imminent and certainly impending injuries of identity theft,

fraud, stalking, surveillance, social engineering and other invasions of privacy. 3

        58.    As a result of Defendants’ misconduct, Plaintiffs and Plaintiff Class Members have

no recourse for the fact that their biologically unique information has been compromised.

Moreover, Plaintiffs and Plaintiff Class Members are likely to withdraw from biometric-facilitated

transactions and other facially-mediated electronic participation.

                               CLASS ACTION ALLEGATIONS

        59.    Plaintiffs brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)-

(3) and 23(c)(4) on behalf of themselves himself and the following classes:

               a.      Nationwide Class: All individuals in the United States of America whose

                       Biometrics were or are contained in the Biometric Database.

               b.      Illinois Subclass: All individuals who reside or resided in the State of

                       Illinois whose Biometrics were or are contained in the Biometric Database.

The Nationwide Class and Illinois Subclass are at times collectively referred to hereinafter as the

“Plaintiff Classes.”



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       Facial    Recognition       Tech:      10      Views       on      Risks      and     Rewards,
https://www.forbes.com/sites/forbestechcouncil/2018/04/03/facial-recognition-tech-10-views-on-risks-
and-rewards/#54d3e1716b3c (accessed on Mar. 15, 2021)


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       60.     Excluded from the above-described Plaintiff Classes are: (a) Defendants; (b) any

parent, affiliate or subsidiary of any Defendant; (c) any entity in which any Defendant has a

controlling interest; (d) any of Defendants’ officers or directors; and (e) any successor or assign of

any Defendant. Also excluded are any judge or court personnel assigned to this case and members

of their immediate families.

       61.     Additionally, on behalf of themselves himself and the members of the Plaintiff

Classes, Plaintiffs bring this action against a class of entities similarly situated to Macy’s pursuant

to Federal Rule of Civil Procedure 23(b)(2)-(3) and 23(c)(4), defined as follows:

               Clearview Client Class: All non-governmental, private entities – including

               publicly-traded companies – who purchased access to, or otherwise obtained, the

               Biometric Database and then utilized the database to run biometric searches at a

               time when the Biometrics of one or more of the named Plaintiffs and members of

               the Plaintiff Classes had already been captured, collected or obtained, and

               subsequently stored, by the Clearview Defendants.

       62.     The Plaintiff Classes and the Clearview Client Class are at times collectively

referred to hereinafter as the “Classes”.

       63.     Plaintiffs reserve the right to amend or modify the class definitions with greater

specificity or division after having had an opportunity to conduct discovery.

       64.     Numerosity: Members of each of the Classes are so numerous that their individual

joinder herein is impracticable. Upon information and belief, the members of the Plaintiff Classes

number in the millions, and the number of members of the Clearview Client Class exceeds forty.

The precise number of members of the Classes and their identities are unknown to Plaintiffs at this

time but may be determined through discovery and objective data. Members of the Classes may




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be notified of the pendency of this action by mail, electronic mail, internet postings, social media

and/or publication.

       65.     Commonality and predominance: Common questions of law and fact exist as to

all members of the Classes and predominate over questions affecting only individual members.

Common legal and factual questions include, but are not limited to:

               a.      Whether Defendants engaged in the wrongful conduct alleged herein;

               b.      Whether Defendants and members of the Clearview Client Class captured,

                       collected, obtained, accessed, created, stored, used, commercialized,

                       disseminated, disclosed or redisclosed the Biometrics of Plaintiffs and

                       members of the Plaintiff Classes ;

               c.      Whether the actions of Defendants and members of the Clearview Client

                       Class violated state statutory and common law;

               d.      Whether Defendants and members of the Clearview Client Class properly

                       informed Plaintiffs and members of the Plaintiff Classes that they were

                       collecting, capturing, obtaining, creating, accessing, storing, using,

                       commercializing,    disseminating,    disclosing   and   redisclosing   their

                       Biometrics;

               e.      Whether Defendants and members of the Clearview Client Class obtained

                       signed written releases or any other form or consent from Plaintiffs or

                       members of the Plaintiff Classes to engage in the practices alleged herein;

               f.      Whether Defendants and members of the Clearview Client Class used the

                       Biometrics of Plaintiffs and members of the Plaintiff Classes to identify

                       them;




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          g.    Whether Defendants and members of the Clearview Client Class acted

                negligently, recklessly or intentionally in, directly or indirectly, scraping

                individuals’ photographs from the internet and/or using them to identify

                individuals based upon facial geometry;

          h.    Whether Defendants and members of the Clearview Client Class should be

                enjoined from continuing their practices;

          i.    Whether Defendants and members of the Clearview Client Class failed to

                provide notice that they were, directly or indirectly, scraping individuals’

                photographs from the internet and/or using them to identify individuals

                based upon facial geometry;

          j.    Whether Defendants and members of the Clearview Client Class failed to

                provide notice that they were collecting, capturing, obtaining, accessing,

                using, storing and disseminating individuals’ images, facial geometry and

                Biometrics;

          k.    Whether Defendants and members of the Clearview Client Class provided

                any mechanism for members of the Plaintiff Classes to consent to their

                practices;

          l.    Whether Macy’s and members of the Clearview Client Class purchased or

                otherwise obtained access to the Biometric Database; and

          m.    Whether Macy’s and members of the Clearview Client Class collected,

                purchased, received through trade or otherwise obtained the Biometrics of

                Plaintiffs and members of the Plaintiff Classes.




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        66.     Typicality: The claims of the named Plaintiffs are typical of the claims of members

of the Plaintiff Classes because Plaintiffs and all members of the proposed Plaintiff Classes have

suffered similar injuries as a result of the same practices alleged herein. Plaintiffs have no interests

to advance adverse to the interests of the other members of the proposed Plaintiff Classes.

Similarly, the defenses of Macy’s are typical of the defenses of members of the Clearview Client

Class because Macy’s and all members of the proposed Clearview Client Class have engaged in

similar conduct and injured Plaintiffs and members of the Plaintiff Classes in similar ways.

Plaintiffs are unaware of any interests of Macy’s that are adverse to the interests of the other

members of the Proposed Clearview Client Class.

        67.     Adequacy: Plaintiffs are adequate representatives of the Plaintiff Classes because

their interests do not conflict with the interests of the members they seek to represent, they have

retained competent counsel experienced in prosecuting class actions, and they intend to prosecute

this action vigorously. The interests of the members of the Plaintiff Classes will be fairly and

adequately protected by Plaintiffs and their counsel. Similarly, Macy’s is an adequate

representative of the Clearview Client Class because its interests do not conflict with the interests

of the members of the Clearview Client Class. Further, Plaintiffs anticipate that Macy’s will retain

competent and experienced counsel who will defend this action vigorously. The interests of the

members of the Clearview Client Class will be fairy and adequately protected by Macy’s and its

counsel.

        68.     Superiority: The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims and defenses of the members of the Plaintiff Classes and

the Clearview Client Class. Each individual member of the Plaintiff Classes may lack the resources

to undergo the burden and expense of individual prosecution of the complex and extensive




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litigation necessary to establish Defendants’ and the Clearview Client Class’s liability. Further,

individualized litigation increases the delay and expense to all parties and multiplies the burden on

the judicial system presented by the complex legal and factual issues of this case. Individualized

litigation also presents a potential for inconsistent or contradictory judgments. In contrast, the class

action device presents far fewer management difficulties and provides the benefits of a single

adjudication, economy of scale and comprehensive supervision by a single court on the issue of

the liability of Defendants and members of the Clearview Client Class. Class treatment of the

liability issues will ensure that all claims and claimants are before this Court for consistent

adjudication of the liability issues.

        69.     In the alternative, the proposed classes may be certified because:

                a.      The prosecution and defense of separate actions by each individual member

                        of the proposed Classes would create a risk of inconsistent adjudications,

                        which could establish incompatible standards of conduct for Defendants;

                b.      The prosecution and defense of individual actions could result in

                        adjudications that as a practical matter would be dispositive of the interests

                        of non-party Class Members or which would substantially impair their

                        ability to protect their interests; and

                c.      Defendants acted or refused to act on grounds generally applicable to the

                        proposed Classes, thereby making final and injunctive relief appropriate

                        with respect to members of the proposed Classes.

        70.     Pursuant to Rule 23(c)(4), particular issues are appropriate for certification –

namely the issues described in paragraph 65 above, because resolution of such issues would

advance the disposition of the matter and the parties’ interests therein.




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                                       COUNT ONE
                        VIOLATION OF BIPA – 740 ILCS 14/15(b)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
                Defendants Clearview, Ton-That, Schwartz and Macy’s and
                          Members of the Clearview Client Class)

       71.     Plaintiffs restate and reallege paragraphs 1 through 70 of this Consolidated Class

Action Complaint as though fully set forth herein.

       72.     BIPA seeks to safeguard individuals’ biometrics identifiers and biometric

information.

       73.     Pursuant to BIPA, biometric identifiers include a scan of an individual’s face

geometry. 740 ILCS 14/10.

       74.     Pursuant to BIPA, biometric information is “any information . . . based on an

individual’s biometric identifier used to identify an individual.” 740 ILCS 14/10.

       75.     Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10,

is among other things, prohibited from collecting, capturing, purchasing, receiving through trade

or otherwise obtaining an individual’s biometric identifiers and information without first: (a)

informing the individual or the individual’s authorized representative in writing that the biometric

identifier and information are being collected or stored; (b) informing the individual or the

individual’s authorized representative of the specific purpose and length of term for which the

biometric identifier and information are being collected, stored and used; and (c) obtaining a

written release. 740 ILCS 14/15(b).

       76.     Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10:

(a) is prohibited from selling, leasing, trading or otherwise profiting from an individual’s biometric

identifiers and information; (b) is prohibited from disclosing, redisclosing or otherwise

disseminating an individual’s biometric identifiers or information without first obtaining consent;




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and (c) must store, transmit and protect from disclosure all biometric identifiers and biometric

information in its possession using the reasonable standard of care within the private entity’s

industry and in a manner which is the same as or more protective than the manner in which the

private entity stores, transmits and protects other confidential and sensitive information. 740 ILCS

14/15(c)-(e).

       77.      BIPA provides for a private right of action and allows a prevailing party to recover

liquidated damages in the amount of: (a) $1,000 or actual damages, whichever is greater, for

negligent violations of its provisions; and (b) $5,000 or actual damages, whichever is greater, for

intentional or reckless violations of its provisions. 740 ILCS 14/20. BIPA also allows for the

recovery of attorneys’ fees and costs and injunctive relief. 740 ILCS 14/20.

       78.      As alleged above, Defendants Clearview, Ton-That, Schwartz and Macy’s and

members of the Clearview Client Class violated BIPA by collecting, capturing, purchasing,

receiving through trade and/or otherwise obtaining individuals’ biometric identifiers and

information, including the biometric identifiers and information of Plaintiffs and members of the

Illinois Subclass, without first providing the requisite written information and without obtaining

the requisite written releases.

       79.      The BIPA violations of Defendants Clearview, Ton-That, Schwartz and Macy’s

and members of the Clearview Client Class were intentional and reckless or, pleaded in the

alternative, negligent.

       80.      As a direct and proximate result of the BIPA violations of Defendants Clearview,

Ton-That, Schwartz and Macy’s and members of the Clearview Client Class, Plaintiffs and

members of the Illinois Subclass have suffered and will continue to suffer injury.




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        81.     Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

        82.     Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Clearview, Ton-That, Schwartz and Macy’s and members of the Clearview

Client Class will continue to cause great and irreparable injury to Plaintiffs and members of the

Illinois Subclass in that their biometric identifiers and information can be viewed and used by

unauthorized persons. Plaintiffs and members of the Illinois Subclass have no adequate remedy at

law for their injuries in that a judgment for monetary damages will not end the misuse of their

biometric identifiers and information.

        83.     Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

                                      COUNT TWO
                        VIOLATION OF BIPA – 740 ILCS 14/15(b)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
       Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

        84.     Plaintiffs restate and reallege all paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint as though fully set forth herein.

        85.     In or about September 2019, Rocky Mountain collected, captured, purchased,

received through trade and/or otherwise obtained the biometric identifiers and information of

Plaintiffs and members of the Illinois Subclass, among others, for the purpose of distributing,

redistributing and disseminating those biometric identifiers and biometric information to Illinois

entities in Illinois, including the Illinois Secretary of State.

        86.     As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz

and Mulcaire violated BIPA by collecting, capturing, purchasing, receiving through trade and/or

otherwise obtaining individuals’ biometric identifiers and information, including the biometric



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identifiers and information of Plaintiffs and members of the Illinois Subclass, without first

providing the requisite written information and without obtaining the requisite written releases.

       87.     The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,

Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

       88.     As a direct and proximate result of the BIPA violations of Defendants Rocky

Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois

Subclass have suffered and will continue to suffer injury.

       89.      Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

       90.     Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will

continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in

that their biometric identifiers and information can be viewed and used by unauthorized persons.

Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries

in that a judgment for monetary damages will not end the misuse of their biometric identifiers and

information.

       91.      Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

                                     COUNT THREE
                       VIOLATION OF BIPA – 740 ILCS § 14/15(c)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
                Defendants Clearview, Ton-That, Schwartz and Macy’s and
                          Members of the Clearview Client Class)

       92.      Plaintiffs restate and reallege paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint, as though fully set forth herein.




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       93.     As alleged above, Defendants Clearview, Ton-That, Schwartz and Macy’s and the

Clearview Client Class violated BIPA by unlawfully selling, leasing, trading and otherwise

profiting from individuals’ biometric identifiers and biometric information, including the

biometric identifiers and information of Plaintiffs and members of the Illinois Subclass.

       94.     The BIPA violations of Defendants Clearview, Ton-That, Schwartz and Macy’s

and members of the Clearview Client Class were intentional and reckless or, pleaded in the

alternative, negligent.

       95.     As a direct and proximate result of the BIPA violations of Defendants Clearview,

Ton-That, Schwartz and Macy’s and members of the Clearview Client Class, Plaintiffs and

members of the Illinois Subclass have suffered and will continue to suffer injury.

       96.     Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

       97.     Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Clearview, Ton-That, Schwartz and Macy’s and members of the Clearview

Client Class will continue to cause great and irreparable injury to Plaintiffs and members of the

Illinois Subclass in that their biometric identifiers and information can be viewed and used by

unauthorized persons. Plaintiffs and members of the Illinois Subclass have no adequate remedy at

law for their injuries in that a judgment for monetary damages will not end the misuse of their

biometric identifiers and information.

       98.     Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.




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                                      COUNT FOUR
                       VIOLATION OF BIPA – 740 ILCS § 14/15(c)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
       Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

       99.      Plaintiffs restate and reallege paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint, as though fully set forth herein.

       100.    As alleged above, through the contract between Defendant Rocky Mountain and

the Illinois Secretary of State, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and

Mulcaire violated BIPA by unlawfully selling, leasing, trading and otherwise profiting from

individuals’ biometric identifiers and biometric information, including the biometric identifiers

and information of Plaintiffs and members of the Illinois Subclass.

       101.    The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,

Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

       102.    As a direct and proximate result of the BIPA violations of Defendants Rocky

Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois

Subclass have suffered and will continue to suffer injury.

       103.    Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

       104.    Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will

continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in

that their biometric identifiers and information can be viewed and used by unauthorized persons.

Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries

in that a judgment for monetary damages will not end the misuse of their biometric identifiers and

information.



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       105.    Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

                                      COUNT FIVE
                        VIOLATION OF BIPA – 740 ILCS § 14/15(d)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
                       Defendants Clearview, Ton-That and Schwartz)

       106.     Plaintiffs restate and reallege paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint as though fully set forth herein.

       107.    As alleged above, Defendants Clearview, Ton-That and Schwartz violated BIPA

by disclosing, redisclosing and otherwise disseminating individuals’ biometric identifiers and

information, including the biometric identifiers and information of Plaintiffs and members of the

Illinois Subclass, even though: (a) neither the subjects of the biometric identifiers and information

nor their authorized representatives consented to the disclosure and redisclosure; (b) the disclosure

and redisclosure did not complete a financial transaction requested or authorized by the subjects

of the biometric identifiers and information or their authorized representatives; (c) the disclosure

and redisclosure were not required by State or federal law or municipal ordinance; and (d) the

disclosure and redisclosure were not required pursuant to a valid warrant or subpoena issued by a

court of competent jurisdiction.

       108.    The BIPA violations of Defendants Clearview, Ton-That and Schwartz were

intentional and reckless or, pleaded in the alternative, negligent.

       109.    As a direct and proximate result of the BIPA violations of Defendants Clearview,

Ton-That and Schwartz, Plaintiffs and members of the Illinois Subclass have suffered and will

continue to suffer injury.

       110.    Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.



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       111.    Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Clearview, Ton-That and Schwartz will continue to cause great and

irreparable injury to Plaintiffs and members of the Illinois Subclass in that their biometric

identifiers and information can be viewed and used by unauthorized persons. Plaintiffs and

members of the Illinois Subclass have no adequate remedy at law for their injuries in that a

judgment for monetary damages will not end the misuse of their biometric identifiers and

information.

       112.    Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorneys’ fees, costs and expenses relating to this action.

                                       COUNT SIX
                       VIOLATION OF BIPA – 740 ILCS § 14/15(d)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
       Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire)

       113.     Plaintiffs restate and reallege paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint as though fully set forth herein.

       114.    As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz

and Mulcaire violated BIPA by disclosing, redisclosing and otherwise disseminating individuals’

biometric identifiers and information to the Illinois Secretary of State in Illinois, including the

biometric identifiers and information of Plaintiffs and members of the Illinois Subclass, even

though: (a) neither the subjects of the biometric identifiers and information nor their authorized

representatives consented to the disclosure and redisclosure; (b) the disclosure and redisclosure

did not complete a financial transaction requested or authorized by the subjects of the biometric

identifiers and information or their authorized representatives; (c) the disclosure and redisclosure

were not required by State or federal law or municipal ordinance; and (d) the disclosure and




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redisclosure were not required pursuant to a valid warrant or subpoena issued by a court of

competent jurisdiction.

       115.    The BIPA violations of Defendants Clearview, Ton-That, Schwartz and Mulcaire

were intentional and reckless or, pleaded in the alternative, negligent.

       116.    As a direct and proximate result of the BIPA violations of Defendants Clearview,

Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois Subclass have suffered

and will continue to suffer injury.

       117.    Plaintiffs and members of the Illinois Subclass seek as monetary relief the greater

of $5,000 or actual damages or, pleaded in the alternative, $1,000 or actual damages.

       118.    Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Clearview, Ton-That, Schwartz and Mulcaire will continue to cause great

and irreparable injury to Plaintiffs and members of the Illinois Subclass in that their biometric

identifiers and information can be viewed and used by unauthorized persons. Plaintiffs and

members of the Illinois Subclass have no adequate remedy at law for their injuries in that a

judgment for monetary damages will not end the misuse of their biometric identifiers and

information.

       119.    Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorneys’ fees, costs and expenses relating to this action.

                                     COUNT SEVEN
                       VIOLATION OF BIPA – 740 ILCS § 14/15(e)
   (By Plaintiffs, on Behalf of Themselves and Members of the Illinois Subclass, Against
       Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire)

       120.     Plaintiffs restate and reallege paragraphs 1 through 70 and 72 through 77 of this

Consolidated Class Action Complaint as though fully set forth herein.




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       121.    As alleged above, Defendants Clearview, Rocky Mountain, Ton-That, Schwartz

and Mulcaire violated BIPA because, while in possession of the biometric identifiers and biometric

information of Plaintiffs and members of the Illinois Subclass, they failed to protect from

disclosure those biometric identifiers and information: (a) using the reasonable standard of care

within Clearview’s and Rocky Mountain’s industry; and (b) in a manner that is the same as or

more protective than the manner in which Clearview and Rocky Mountain protect and protected

other confidential and sensitive information.

       122.    As alleged above, Defendant Clearview’s electronic systems have a history of data

breaches. Moreover, on information and belief, Defendant Rocky Mountain relied on Clearview’s

defective electronic systems for storage and protection of Rocky Mountain’s Biometric Database.

       123.    The BIPA violations of Defendants Clearview, Rocky Mountain Ton-That,

Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

       124.    As a direct and proximate result of the BIPA violations of Defendants Clearview,

Rocky Mountain, Ton-That, Schwartz and Mulcaire, Plaintiffs and members of the Illinois

Subclass have suffered and will continue to suffer injury.

       125.    Plaintiffs and Class Members seek as monetary relief the greater of $5,000 or actual

damages or, pleaded in the alternative, $1,000 or actual damages.

       126.    Unless and until enjoined and restrained by order of this Court, the wrongful

conduct of Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire will

continue to cause great and irreparable injury to Plaintiffs and members of the Illinois Subclass in

that their biometric identifiers and information can be viewed and used by unauthorized persons.

Plaintiffs and members of the Illinois Subclass have no adequate remedy at law for their injuries




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in that a judgment for monetary damages will not end the misuse of their biometric identifiers and

information.

       127.    Plaintiffs and members of the Illinois Subclass also seek punitive damages,

injunctive relief and the reasonable attorney’s fees, costs and expenses relating to this action.

                                     COUNT EIGHT
                                  UNJUST ENRICHMENT
   (By Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                   Defendants and Members of the Clearview Client Class)

       128.     Plaintiffs restate and reallege all paragraphs of this Consolidated Class Action

Complaint as though fully set forth herein.

       129.    To the detriment of Plaintiffs and members of the Plaintiff Classes, Defendants and

members of the Clearview Client Class have been, and continue to be, unjustly enriched as a result

of their wrongful conduct, as alleged herein.

       130.    Plaintiffs and members of the Plaintiff Classes conferred a benefit on Defendants

and members of the Clearview Client Class in that, without authorization and through inequitable

means, Defendants and members of the Clearview Client Class: (a) covertly scraped photographs

of Plaintiffs and members of the Plaintiff Classes from the internet; (b) collected, captured,

purchased, received through trade and otherwise obtained and used the Biometrics of Plaintiffs

and members of the Plaintiff Classes; (c) amassed a Biometric Database containing those

Biometrics; (d) distributed, redistributed and disseminated the Biometric Database; and/or (e) sold,

traded, leased and otherwise profited from the Biometric Database and Biometrics. Defendants

and members of the Clearview Client Class did not compensate Plaintiffs and members of the

Plaintiff Classes for the benefit received from the above-described conduct.




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       131.    Defendants and members of the Clearview Client Class appreciated, accepted and

retained the benefit bestowed upon them under inequitable and unjust circumstances arising from

their conduct toward Plaintiffs and members of the Plaintiff Classes, as alleged herein.

       132.    Plaintiffs and members of the Plaintiff Classes have no adequate remedy at law.

       133.    Under the circumstances, it would be unjust and unfair for Defendants and members

of the Clearview Client Class to be permitted to retain any of the benefits obtained from Plaintiffs

and members of the Plaintiff Classes.

       134.    Under the principles of equity and good conscience, Defendants and members of

the Clearview Client Class should not be permitted to retain the photographs, biometric identifiers

and information belonging to Plaintiffs and members of the Plaintiff Classes because Defendants

and members of the Clearview Client Class unlawfully obtained that information.

       135.    Defendants and members of the Clearview Client Class should be compelled to

disgorge into a common fund or constructive trust, for the benefit of Plaintiffs and members of the

Plaintiff Classes, proceeds that they unjustly received from the sale, lease, trade, distribution,

dissemination and use of the personal information of Plaintiffs and members of the Plaintiff

Classes.

                                      COUNT NINE
              DECLARATORY JUDGMENT ACT, 28 U.S.C. § 2201, et seq.
   (By Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                   Defendants and Members of the Clearview Client Class)

       136.     Plaintiffs restate and reallege all paragraphs of this Consolidated Class Action

Complaint as though fully set forth herein.

       137.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Further, the Court has broad authority to restrain acts, such as here, that



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are tortious and that violate the terms of the statutes described in this Consolidated Class Action

Complaint.

       138.    An actual controversy has arisen in the wake of the unlawful collection, obtainment,

purchase, trade, disclosure, dissemination, sale and/or misuse by Defendants and members of the

Clearview Client Class of the photographs and Biometrics of Plaintiffs and members of the

Plaintiff Classes without their consent, as alleged herein, in violation of the common law and

statutory duties of Defendants and Members of the Clearview Client Class.

       139.    Plaintiffs and members of the Plaintiff Classes continue to suffer injury and

damages, as described herein, as Defendants and members of the Clearview Client Class continue

to collect, obtain, purchase, trade, disclose, sell and/or misuse the photographs and Biometrics of

Plaintiffs and members of the Plaintiff Classes.

       140.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

               a.     Defendants and members of the Clearview Client Class continue to owe a

                      legal duty to not collect, obtain, purchase, trade, disclose, sell or otherwise

                      misuse the photographs and Biometrics of Plaintiffs and members of the

                      Plaintiff Classes under, inter alia, the statutory provisions described in this

                      Consolidated Class Action Complaint and the common law;

               b.     Defendants and members of the Clearview Client Class continue to breach

                      their legal duties to Plaintiffs and members of the Classes by continuing to

                      collect, obtain, purchase, trade, disclose, sell and otherwise misuse the

                      photographs and Biometrics of Plaintiffs and members of the Plaintiff

                      Classes; and




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               c.      The ongoing breaches by Defendants and members of the Clearview Client

                       Class of their legal duties continue to cause harm to Plaintiffs and members

                       of the Plaintiff Classes.

       141.    The Court should also issue corresponding injunctive relief, including, but not

limited to: (a) enjoining Defendants and members of the Clearview Client Class from engaging in

the unlawful conduct alleged in this claim; (b) requiring Defendants and members of the Clearview

Client Class to delete all photographs and Biometrics of Plaintiffs and members of the Plaintiff

Classes; and (c) cease further collection of photographs and Biometrics of Plaintiffs or members

of the Plaintiff Classes or engaging in any activities that would result in the purchase, obtainment,

disclosure, trade, sale or misuse of the photographs and Biometrics of Plaintiffs and members of

the Plaintiff Classes. If an injunction is not issued, Plaintiffs and members of the Plaintiff Classes

will suffer irreparable injury and lack an adequate legal remedy in the event the statutory or

common law does not prohibit, among other things, the collection, purchase, obtainment, trade,

disclosure, sale and misuse of the photographs and Biometrics of Plaintiffs and members of the

Plaintiff Classes. Illinois in particular specifically constrains the collection, purchase, obtainment,

trade, disclosure and sale of Biometrics and recognizes a person’s right to maintain such personal

information as private. In light of the pervasive flaunting of such rights by Defendants and

members of the Clearview Client Class, including the continued collection, purchase, obtainment,

trade, disclosure, sale and/or misuse of the photographs and Biometrics of Plaintiffs and members

of the Plaintiff Classes, the risk of continued violations of Illinois law and the common law is real,

immediate and substantial. Plaintiffs and members of the Plaintiff Classes do not have an adequate

remedy at law because many of the resulting injuries are reoccurring and Plaintiffs and members

of the Plaintiff Classes will be forced to bring multiple lawsuits to rectify the same conduct.




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       142.    The hardship to Plaintiffs and members of the Plaintiff Classes if an injunction is

not issued exceeds the hardship to Defendants and members of the Clearview Client Class if an

injunction is issued. On the other hand, the cost to Defendants and members of the Clearview

Client Class of complying with an injunction by adhering to the requirements of Illinois law and

the common law by ceasing to engage in the misconduct alleged herein is relatively minimal, and

Defendants and members of the Clearview Client Class have a pre-existing legal obligation to

avoid invading the privacy rights of consumers.

       143.    Issuance of the requested injunction will serve the public interest by preventing

ongoing collection, purchase, obtainment, trade, disclosure, sale and misuse of the photographs

and Biometrics of Plaintiffs and members of the Plaintiff Classes without consent, thus eliminating

the injuries that would result to Plaintiffs and members of the Plaintiff Classes, and the hundreds

of millions of Americans who upload photographs to social media sites.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and members of the Plaintiff Classes,

respectfully request that the Court:

               a.      Certify the Plaintiff Classes, name Plaintiffs as the representatives of the

                       Plaintiff Classes and appoint their lawyers as counsel for the Plaintiff

                       Classes;

               b.      Certify the Clearview Client Class;

               c.      Award Plaintiffs and the members of the Plaintiff Classes statutory,

                       compensatory, punitive, exemplary, consequential, general and nominal

                       damages in an amount to be determined at trial;




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             d.       Grant permanent injunctive relief to prohibit Defendants and members of

                      the Clearview Client Class from continuing to engage in the unlawful acts

                      and practices described herein;

             e.       Award Plaintiffs and members of the proposed Classes pre-judgment and

                      post-judgment interest as permitted by law;

             f.       Award to Plaintiffs and members of the Plaintiff Classes the costs and

                      disbursements of the action, along with reasonable attorneys’ fees, costs and

                      expenses; and

             g.       Grant all such other relief as it deems just and proper.

                                       JURY DEMAND

      Plaintiffs demand a trial by jury on all causes of action and issues so triable.


Dated: May 25, 2021

                                             Respectfully submitted,


                                      By:    /s/ Scott R. Drury
                                             SCOTT R. DRURY
                                             Counsel for Plaintiffs

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                               CERTIFICATE OF SERVICE

       I, Scott R. Drury, an attorney, hereby certify that, on May 25, 2021, I filed the foregoing

document using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                    /s/ Scott R. Drury
                                                    Counsel for Plaintiffs
